Case 4:21-cv-00033-ALM Document 1 Filed 01/14/21 Page 1 of 17 PageID #: 1



               UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF TEXAS


  Timothy Jackson,

                        Plaintiff,

  v.

  Laura Wright, Milton B. Lee, Melisa
  Denis, Mary Denny, Daniel Feehan,
  A.K. Mago, Carlos Munguia, and G.
  Brint Ryan, each in their official
  capacities as members of the Board of
                                                Case No. 4:21-cv-00033
  Regents for the University of North
  Texas System; Rachel Gain; Ellen
  Bakulina; Andrew Chung; Diego
  Cubero; Steven Friedson; Rebecca
  Dowd Geoffroy-Schwinden; Benjamin
  Graf; Frank Heidlberger; Bernardo
  Illari; Justin Lavacek; Peter Mondelli;
  Margaret Notley; April L. Prince;
  Cathy Ragland; Gillian Robertson;
  Hendrik Schulze; Vivek Virani; and
  Brian F. Wright,

                        Defendants.


                      COMPLAINT AND JURY DEMAND
       Plaintiff Timothy Jackson is a professor at the University of North Texas and a
 scholar of the music theorist Heinrich Schenker. After a fellow music scholar named
 Philip Ewell published a paper and delivered a prominent talk that denounced Schen-
 ker as “an ardent racist,” Professor Jackson organized a symposium and invited music
 scholars to submit papers responding to Ewell’s thesis. Many (though not all) of these
 symposium papers were highly critical of Ewell’s attacks on Schenker. Professor Jack-
 son also contributed his own piece to the symposium, which defended Schenker and




 complaint                                                                  Page 1 of 17
Case 4:21-cv-00033-ALM Document 1 Filed 01/14/21 Page 2 of 17 PageID #: 2




 sharply criticized Ewell for quoting Schenker out context and refusing even to men-
 tion that Schenker was Jewish and experienced anti-Semitism in Nazi Germany. Pro-
 fessor Jackson then arranged for these symposium papers to be published in the Jour-
 nal of Schenkerian Studies, a journal that Professor Jackson founded almost 20 years

 ago and operates at the University of North Texas.
     Professor Jackson’s defense of Schenker and criticisms of Ewell — as well his role
 in publishing a symposium that was largely (though not entirely) critical of Ewell’s
 denunciations of Schenker — incited an academic mob. Allies of Ewell have been de-

 manding that the University of North Texas fire Professor Jackson and shut down his
 Journal for Schenkerian Studies, as well as the Center for Schenkerian Studies that
 Professor Jackson runs at the university. Numerous individuals defamed Professor
 Jackson by publishing statements calling him “racist” — merely because he organized
 a symposium to defend a music theorist accused of being a racist and because he crit-
 icized a colleague, Philip Ewell, who happens to be black.
     Rather than defend Professor Jackson’s academic freedom, the University of
 North Texas and its administrators joined the witch hunt. They launched an investi-
 gation into Professor Jackson, and commissioned an “ad hoc review panel” to deter-
 mine “whether the standards of best scholarly practice were followed” in publishing
 the symposium. The panel issued its report on November 25, 2020, published on the
 University of North Texas website, which makes baseless criticisms of the “editorial
 and review practices” of the Journal for Schenkerian Studies. Professor Jackson’s de-
 partment chair is now using this report as an excuse to exclude Professor Jackson from
 any continued involvement with the journal.
     All of this — the investigation, the criticisms of Professor Jackson in the ad hoc
 panel’s report, and the threats to remove Professor Jackson from the Journal for
 Schenkerian Studies — was done to retaliate against Professor Jackson for exercising




 complaint                                                                  Page 2 of 17
Case 4:21-cv-00033-ALM Document 1 Filed 01/14/21 Page 3 of 17 PageID #: 3




 his constitutional rights under the Speech Clause. He sues to undo these unconstitu-
 tional actions and enjoin the university from any further retaliatory action against him.
 Professor Jackson is also seeking relief against the individuals who defamed him by
 publishing and propagating baseless statements that he is “racist.”

                          JURISDICTION AND VENUE
      1.   This Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because
 Professor Jackson alleges that the university and its Board of Regents are violating his
 constitutional rights under the First and Fourteenth Amendments. The Court has
 supplemental jurisdiction over Professor Jackson’s state-law defamation claims under
 28 U.S.C. § 1367(a).
      2.   Venue is proper under 28 U.S.C. § 1391(b)(1) because at least one of the
 defendants resides in this district, and all of the defendants reside in the state of Texas.

 Venue is equally proper under 28 U.S.C. § 1391(b)(2) because a substantial part of
 the events or omissions giving rise to Professor Jackson’s claims occurred in this dis-
 trict.

                                        PARTIES
      3.   Plaintiff Timothy Jackson is Distinguished University Research Professor of
 Music Theory at the University of North Texas. He is a founding member of the

 Journal of Schenkerian Studies, published by the UNT Press, and director of the Cen-
 ter for Schenkerian Studies which has distinguished the University of North Texas and
 its music program for almost 20 years.
      4.   Defendant Laura Wright is chair of the Board of Regents for the University
 of North Texas System. Ms. Wright is sued in her official capacity.
      5.   Defendant Milton B. Lee is vice-chair of the Board of Regents for the Uni-
 versity of North Texas System. Mr. Lee is sued in his official capacity.




 complaint                                                                       Page 3 of 17
Case 4:21-cv-00033-ALM Document 1 Filed 01/14/21 Page 4 of 17 PageID #: 4




     6.   Defendant Melisa Denis is a member of the Board of Regents for the Uni-
 versity of North Texas System. Ms. Denis is sued in her official capacity.
     7.   Defendant Mary Denny is a member of the Board of Regents for the Uni-
 versity of North Texas System. Ms. Denny is sued in her official capacity.

     8.   Defendant Daniel Feehan is a member of the Board of Regents for the Uni-
 versity of North Texas System. Mr. Feehan is sued in his official capacity.
     9.   Defendant A.K. Mago is a member of the Board of Regents for the Univer-
 sity of North Texas System. Mr. Mago is sued in his official capacity.

     10. Defendant Carlos Munguia is a member of the Board of Regents for the
 University of North Texas System. Mr. Munguia is sued in his official capacity.
     11. Defendant G. Brint Ryan is a member of the Board of Regents for the Uni-
 versity of North Texas System. Mr. Ryan is sued in his official capacity.
     12. Defendant Rachel Gain is a resident and citizen of Texas.
     13. Defendant Ellen Bakulina is a resident and citizen of Texas.
     14. Defendant Andrew Chung is a resident and citizen of Texas.
     15. Defendant Diego Cubero is a resident and citizen of Texas.
     16. Defendant Steven Friedson is a resident and citizen of Texas.
     17. Defendant Rebecca Dowd Geoffroy-Schwinden is a resident and citizen of
 Texas.
     18. Defendant Benjamin Graf is a resident and citizen of Texas.
     19. Defendant Frank Heidlberger is a resident and citizen of Texas.
     20. Defendant Bernardo Illari is a resident and citizen of Texas.
     21. Defendant Justin Lavacek is a resident and citizen of Texas.
     22. Defendant Peter Mondelli is a resident and citizen of Texas.
     23. Defendant Margaret Notley is a resident and citizen of Texas.
     24. Defendant April L. Prince is a resident and citizen of Texas.
     25. Defendant Cathy Ragland is a resident and citizen of Texas.


 complaint                                                                     Page 4 of 17
Case 4:21-cv-00033-ALM Document 1 Filed 01/14/21 Page 5 of 17 PageID #: 5




      26. Defendant Gillian Robertson is a resident and citizen of Texas.
      27. Defendant Hendrik Schulze is a resident and citizen of Texas.
      28. Defendant Vivek Virani is a resident and citizen of Texas.
      29. Defendant Brian F. Wright is a resident and citizen of Texas.

                                       FACTS
 I.       Professor Ewell Delivers An Address That Condemns Heinrich
          Schenker As “An Ardent Racist”
      30. On or around November 9, 2019, Professor Philip Ewell of Hunter College
 of the City University of New York delivered a plenary address at the Society for Music
 Theory.
      31. Ewell titled his plenary talk, “Music Theory’s White Racial Frame.” The
 video of Ewell’s talk is available at https://vimeo.com/372726003. Ewell published
 a paper based on this talk in Music Theory On-line 26/2, available at
 https://mtosmt.org/issues/mto.20.26.2/mto.20.26.2.ewell.pdf (last visited on
 January 14, 2021). In his paper, Ewell describes himself as “a black person — the only
 associate professor who self-identified as such in the 2018 SMT [Society for Music
 Theory] demographic report — but . . . a practitioner of what I call ‘white music the-
 ory.’”
      32. Ewell complained that “music theory is white” because whites account for

 84.2% of the membership of the Society for Music Theory and 93.9% of the associate
 and full professors in music theory. Ewell also denounced the “figurative and even
 more deep-seated whiteness in music theory” that “manifests itself in the composers
 we choose to represent our field . . . and in the music theories that we elevate to the
 top of our discipline.” In his plenary speech to the Society for Music Theory, Ewell
 said, “There can be no question that white persons hold the power in music theory —
 music theory’s white racial frame entrenches and institutionalizes that power.”




 complaint                                                                   Page 5 of 17
Case 4:21-cv-00033-ALM Document 1 Filed 01/14/21 Page 6 of 17 PageID #: 6




       33. Ewell then denounced as “an ardent racist and German nationalist” the late-
 19th century/early-20th century Jewish music theorist Heinrich Schenker, sometimes
 referred to as the “Albert Einstein of music theory.” In his plenary address, Ewell
 complained, “Indeed, the only thing that has been completely off the table in our

 White racial frame is simply calling Schenker the virulent racist he was.” He also
 claimed that “our white racial frame seeks to shield Schenker from unwanted criti-
 cism.”
       34. Ewell also lamented that “no one has clearly linked [Schenker’s] repugnant

 views on people to his music theories.” Ewell also claimed that Schenker “believed in
 biological racism” and praised Hitler, without mentioning that Schenker was Jewish
 and lost many family members in the Holocaust. Ewell averred that “Schenker’s racist
 views infected his music theoretical arguments.” Ewell wrote: “I argue that Schenker-
 ian theory is an institutionalized racial structure — a crucial part of music theory’s
 white racial frame — that exists to benefit members of the dominant white race of
 music theory.”
       35. Ewell criticized Schenkerian scholars for “whitewashing” his supposedly rac-
 ist views, and accused them of “Schenkerian apologia — in which white persons sev-
 ered Schenker’s racist convictions from his music theories in order to promote Schen-
 kerism.”

 II.      Professor Jackson Organizes A Symposium In Response To
          Professor Ewell’s Attacks on Schenker And Schenkerism
       36. Professor Jackson has dedicated his 40-year career in scholarship to the
 study of Heinrich Schenker, who is the namesake of the Center for Schenkerian Stud-
 ies that Professor Jackson directs at the University of North Texas (“the Center”).
       37. Professor Jackson is also a founding member of the Journal of Schenkerian
 Studies (“the Journal”), which is published by the University of North Texas Press.




 complaint                                                                  Page 6 of 17
Case 4:21-cv-00033-ALM Document 1 Filed 01/14/21 Page 7 of 17 PageID #: 7




     38. The focus of Professor Jackson's scholarship, Heinrich Schenker, developed
 a system of music theory that became influential in music in the United States after
 the Second World War.
     39. Schenker was an Austrian Jew born in 1868 into a provincial family of Tal-

 mudic scholars at the contested periphery of the Austrian and Russian Empires. By
 the end of his life, he had moved to Vienna, the Austrian capital and the capital of
 classical music.
     40. Typical of many Jews who traveled this path of assimilation after the Euro-

 pean Enlightenment, Schenker deeply loved German culture. At the same time, he
 was forever excluded by Germans and Austrians due to anti-Semitism.
     41. However much Schenker loved German culture and however much Western
 classical music nurtured his system of music theory, he was never considered a proper
 Austrian (let alone German). He suffered racism firsthand through pervasive anti-
 Semitism, including from other well-known musicians.
     42. Schenker died in 1935, just three years before the National Socialists annexed
 Austria. His wife, as well as many of his students and family members, were subse-
 quently persecuted and perished in the Holocaust.
     43. Remarkably, at the end of his life, Schenker was full of hope for the power of
 music to reach across human hatreds and unify humankind. He declared: “[M]usic is
 accessible to all races and creeds alike. He who masters such progressions in a creative
 sense, or learns to master them, produces art which is genuine and great” (emphasis
 added). Despite his enthusiasm for German culture, Schenker also found some forms
 of music traditionally associated with black American culture to be superior to Ger-
 man composers of his day.
     44. In late 2019, Professor Jackson and the editorial staff of the Journal decided
 to organize a symposium in response to Professor Ewell’s address to the Society of
 Music Theory. The Journal sent a call for papers to members of the Society for Music


 complaint                                                                   Page 7 of 17
Case 4:21-cv-00033-ALM Document 1 Filed 01/14/21 Page 8 of 17 PageID #: 8




 Theory, including Professor Ewell. The journal received all submissions by March of
 2020 and published them on July 24, 2020.
     45. The symposium contributions reflect a range of views. Five of the 15 sym-
 posium pieces discuss Ewell’s arguments favorably. Other articles published in the

 symposium, however, are quite critical of Ewell and his thesis. A copy of the sympo-
 sium is attached as Exhibit C to Professor Jackson’s affidavit.
     46. Professor Jackson authored one of the articles, entitled “A Preliminary Re-
 sponse to Ewell,” which criticizes Ewell’s thesis on numerous grounds. Jackson Aff.

 Ex. C at JACKSON000154–000163.
     47. First, Professor Jackson accused Ewell of quoting Schenker’s articles, books,
 letters, and diary out of context, in a manner that “falsifies or misconstrues their
 meaning.” Jackson Aff. Ex. C at JACKSON000154. See also id. (“[B]y cherry-picking
 short phrases out of their full textual and historical environments, he is able to misin-
 terpret them, employing a technique similar to today’s political attack ads that employ
 video editing of speeches by adversaries to make them appear to say things they never·
 intended.”); id. at JACKSON000155 (“The Schenker Documents Online (SDO)
 English translations are very helpful, but at the same time, they must be used with
 caution and require exegesis.”).
     48. Professor Jackson also faulted Ewell for failing to acknowledge that Schen-
 ker changed his views on race and nationality throughout the course of his life. See
 Jackson Aff. Ex. C at JACKSON000154 (“Although Schenker did not lack self-assur-
 ance, he did pivot very significantly from a typical German racist to an egalitarian
 viewpoint, and from a staunch German patriot who hated everything English and
 American, to one who saw new hope for Schenkerian analysis in America”).
     49. Most of all, Professor Jackson sharply criticized Ewell for refusing to
 acknowledge that Schenker was Jewish and a victim of anti-Semitism. The rise of Nazi
 Germany “forced him to change his views of race.” Id. See also id. at


 complaint                                                                    Page 8 of 17
Case 4:21-cv-00033-ALM Document 1 Filed 01/14/21 Page 9 of 17 PageID #: 9




 JACKSON000154 (“Influenced by growing Jew-hatred in the culture in which he
 lived, Schenker even internalized some of its stigmata when having to endure the
 unveiled anti-Semitism of a famous conductor like Furtwangler.”). Professor Jackson
 also questioned whether the so called “white frame” can be applied to a Jewish music

 theorist such as Schenker. See id. at JACKSON000157 (“[M]any white-skinned Jews
 do not identify with ‘Whiteness’ as defined by WASPs. As Jews, diary entries prove
 that Schenker and his wife knew very well that they were considered ‘Other’ by main-
 stream German-speaking Viennese society, as his Jewish students would be later in

 America. Therefore, simply to assume that Jewish Schenkerians are ‘White’ and there-
 fore participate in ‘White Privilege’ in America is surely a naïve, unnuanced, and overly
 simplistic viewpoint at best.”).
     50. Perhaps most controversially, Professor Jackson suggested that Ewell’s at-
 tack on Schenker might be the product of anti-Semitism, and Professor Jackson cited
 studies showing that blacks are more likely than whites to hold anti-Semitic views.
 Jackson Aff. Ex. C at JACKSON000159 (“Ewell’s scapegoating of Schenker, Schen-
 kerians, and Schenkerian analysis, occurs in the much larger context of Black-on-Jew
 attacks in the United States. . . . Ewell’s denunciation of Schenker and Schenkerians
 may be seen as part and parcel of the much broader current of Black anti-Semitism.”).
 Professor Jackson also criticized the willingness to excuse or downplay anti-Semitism
 in the black community:

        Given the history of racism against African Americans, there is a strong
        tendency today to excuse or downplay these phenomena, but they are
        real — and toxic. They currently manifest themselves in myriad ways,
        including the pattern of violence against Jews, the obnoxious lyrics of
        some hip hop songs, etc. . . . Of course, the reason that Black anti-Sem-
        itism is soft-pedaled, excused, ignored, and even applauded, is that for
        too long Blacks themselves have been the object of racism. Yet history
        does not absolve African Americans of anti-Semitism. What we are see-
        ing now in NYC and its environs, and increasingly across the US and




 complaint                                                                    Page 9 of 17
Case 4:21-cv-00033-ALM Document 1 Filed 01/14/21 Page 10 of 17 PageID #: 10



          Europe — especially in France — and in academia, are the lethal fruits of
          this slowly gestating disease.
  Id.
        51. Professor Jackson closed his article by explaining the paucity of black music-
  theory professors. See Jackson Aff. Ex. C at JACKSON000160–000162. Professor
  Jackson rejected Ewell’s claim that blacks have been deterred from entering music
  theory because of “racist Schenkerians practicing their inherently racist analytical
  methodology.” Id. at JACKSON000163. Instead, Professor Jackson argued that “a

  fundamental reason for the paucity of African American women and men in the field
  of music theory is that few grow up in homes where classical music is profoundly
  valued, and therefore they lack the necessary background.” Id. at JACKSON000161.
  Professor Jackson wrote:

          [S]uccess in classical music is a matter of setting priorities, and sum-
          moning inner resources to succeed, no matter what it takes: first and
          foremost, young African Americans must want to be classical musicians,
          and their families must be supportive. But admittedly that is not
          enough. If we are to achieve true social justice in music theory, then we
          will be compelled to engage with the real issues. We must address Afri-
          can American students’ lack of foundation, especially music-theoretical,
          by facilitating their early training with appropriate resources, and by
          demolishing institutionalized racist barriers; this is the solution, not
          blaming Schenker, his students and associates, and practitioners of
          Schenkerian analysis.
  Id. at JACKSON000161–000162.

  III.    The Aftermath
        52. After the Journal published this symposium, Ewell’s supporters began to
  clamor on social media and elsewhere for Professor Jackson to be censored and fired.
  These attacks were orchestrated by Ewell’s supporters within the Society for Music
  Theory, and at least partially orchestrated by Ewell himself.
        53. Professors at the University of Michigan (where the leadership of the Society
  for Music Theory serves on faculty) led the social-media charge. The chair of the




  complaint                                                                   Page 10 of 17
Case 4:21-cv-00033-ALM Document 1 Filed 01/14/21 Page 11 of 17 PageID #: 11




  music theory department circulated e-mails encouraging everyone to sign on, as did
  faculty at other universities such as CUNY, Yale, and Indiana University.
      54. On July 29, 2020 — only five days after the publication of the symposium —
  the Executive Board of the Society for Music Theory issued a letter condemning the

  symposium that had been published in the Journal of Schenkerian Studies:

         The Executive Board of the Society for Music Theory condemns the
         anti-Black statements and personal ad hominem attacks on Philip Ewell
         perpetuated in several essays included in the “Symposium on Philip
         Ewell’s 2019 SMT Plenary Paper” published by the Journal of Schen-
         kerian Studies.

         The conception and execution of this symposium failed to meet the
         ethical, professional, and scholarly standards of our discipline. Some
         contributions violate our Society’s policies on harassment and ethics.

         As reported by participants, the journal’s advisory board did not subject
         submissions to the normal processes of peer review, published an anon-
         ymously authored contribution, and did not invite Ewell to respond in
         a symposium of essays that discussed his own work. Such behaviors are
         silencing, designed to exclude and to replicate a culture of whiteness.
         These are examples of professional misconduct, which in this case ena-
         bles overtly racist behavior. We humbly acknowledge that we have
         much work to do to dismantle the whiteness and systemic racism that
         deeply shape our discipline. The Executive Board is committed to mak-
         ing material interventions to foster anti-racism and support BIPOC
         scholars in our field, and is meeting without delay to determine further
         actions.
  Jackson Aff. Ex. D (JACKSON000225).
      55. Around the same time, some graduate students at UNT circulated a state-
  ment, which said:

         We are appalled by the journal’s platforming of racist sentiments in re-
         sponse to Dr. Philip Ewell’s plenary address at the Society of Music
         Theory annual meeting in 2019. Furthermore, we condemn the egre-
         gious statements written by UNT faculty members within this publica-
         tion. We stand in solidarity with Dr. Philip Ewell and his goals to ad-
         dress systemic racism in and beyond the field of music theory.




  complaint                                                                   Page 11 of 17
Case 4:21-cv-00033-ALM Document 1 Filed 01/14/21 Page 12 of 17 PageID #: 12




  Jackson Aff. Ex. D (JACKSON000226). The graduate students’ statement called
  upon the University of North Texas to “dissolve” the Journal of Schenkerian Studies
  and demanded that the university “[h]old accountable every person responsible for
  the direction of the publication.” Then the students wrote:

           This should also extend to investigating past bigoted behaviors by fac-
           ulty and, by taking this into account, the discipline and potential re-
           moval of faculty who used the JSS platform to promote racism. Specif-
           ically, the actions of Dr. Jackson — both past and present — are partic-
           ularly racist and unacceptable.
  Jackson Aff. Ex. D (JACKSON000227) (emphasis added). The letter also says: “We
  sincerely apologize to Dr. Philip Ewell for these racist attacks on his scholarship and
  character.” Id.
       56. On July 27, 2020, Defendant Rachel Gain published this defamatory attack
  on Professor Jackson on her twitter feed. See https://bit.ly/3sm3QWx (last visited
  on January 14, 2021).
       57. Finally, on July 31, 2020, almost all of Professor Jackson’s colleagues in the
  Division of Music History, Theory, and Ethnomusicology signed a letter that en-
  dorsed the contents of the graduate students’ defamatory letter and provided a link
  to it:

           We, the undersigned faculty members of the University of North Texas
           Division of Music History, Theory, and Ethnomusicology, stand in sol-
           idarity with our graduate students in their letter of condemnation of
           the Journal of Schenkerian Studies. We wish to stress that we are speak-
           ing for ourselves individually and not on behalf of the university. The
           forthcoming issue — a set of responses to Dr. Philip Ewell’s plenary lec-
           ture at the 2019 Society for Music Theory annual meeting
           (https://vimeo.com/372726003) — is replete with racial stereotyping
           and tropes, and includes personal attacks directed at Dr. Ewell. To be
           clear, not all responses contain such egregious material; some were
           thoughtful, and meaningfully addressed and amplified Dr. Ewell’s re-
           marks about systemic racism in the discipline. But the epistemic center
           of the journal issue lies in a racist discourse that has no place in any
           publication, especially an academic journal. The fact that he was not



  complaint                                                                    Page 12 of 17
Case 4:21-cv-00033-ALM Document 1 Filed 01/14/21 Page 13 of 17 PageID #: 13



         afforded the opportunity to respond in print is unacceptable, as is the
         lack of a clearly defined peer-review process.

         We endorse the call for action outlined in our students’ letter
         (https://drive.google.com/file/d/1PekRT8tr5RXWRTW6Bqdaq57
         svqBRRcQK/view), which asks that the College of Music “publicly
         condemn the issue and release it freely online to the public” and “pro-
         vide a full public account of the editorial and publication process, and
         its failures.” Responsible parties must be held appropriately accounta-
         ble.

         The treatment of Prof. Ewell’s work provides an example of the broader
         system of oppression built into the academic and legal institutions in
         which our disciplines exist. As faculty at the College of Music we must
         all take responsibility for not only publicly opposing racism in any form,
         but to address and eliminate systematic racism within our specific disci-
         plines.
  Jackson Aff. Exhibit D (JACKSON000228).
      58. That same day, July 31, 2020, John W. Richmond, dean of the College of
  Music at the University of North Texas, issued the following statement:

         The University of North Texas College of Music has begun a formal
         investigation into the conception and production of the twelfth volume
         of the Journal of Schenkerian Studies, which is published by the Center
         for Schenkerian Studies and UNT Press. The University, the College of
         Music, and the Division of Music History, Theory, and Ethnomusicol-
         ogy reaffirm our dedication to combatting racism on campus and across
         all academic disciplines. We likewise remain deeply committed to the
         highest standards of music scholarship, professional ethics, academic
         freedom, and academic responsibility.
  Jackson Aff. Exhibit N. Within a week, an “Ad Hoc Panel” was formed to carry out
  this investigation.
      59. The Ad Hoc Panel issued its report on November 30, 2020, which declared
  that its members “do not find that the standards of best practice in scholarly publica-
  tion were observed in the production of Volume 12 of the [Journal of Schenkerian
  Studies].” See Jackson Aff. Exhibit D (JACKSON000222). That same day, Provost
  Jennifer Cowley sent Professor Jackson a letter instructing Professor Jackson, “as the



  complaint                                                                   Page 13 of 17
Case 4:21-cv-00033-ALM Document 1 Filed 01/14/21 Page 14 of 17 PageID #: 14




  Director of the Center for Schenkerian Studies, to develop a plan to address the rec-
  ommendations by December 18th and submit the plan to Chair Benjamin Brand and
  Dean John Richmond for review and approval.” Jackson Aff. Exhibit T.
      60. On December 11, 2020 — more than a week before the deadline that the

  provost had imposed — Dr. Benjamin Brand (Professor Jackson’s department chair)
  informed Professor Jackson that he would be removed from the Journal and that the
  university would eliminate resources previously provided to the Journal and Center
  for Shenkerian Studies.

      61. Dr. Brand stated: “I cannot support a plan according to which you would
  remain involved in the day-to-day operations of the journal, and its editorial process
  in particular, given the panel’s findings of editorial mismanagement at JSS.” Jackson
  Aff. Exhibit U.

                    Count 1: Violation Of 42 U.S.C. § 1983
                     (Board of Regents Defendants Only)
      62. The University of North Texas and its officials are retaliating against Pro-
  fessor Timothy Jackson for his criticisms of Philip Ewell, in violation of Professor
  Jackson’s rights under the First and Fourteenth Amendments.
      63. The commissioning of the “ad hoc review panel,” the issuance of its report
  that criticizes the editorial practices of the Journal of Schenkerian Studies, and the
  department chair’s decision to block Professor Jackson from any future involvement
  in the journal were all done in retaliation for Professor Jackson’s article that defended
  Schenker against Ewell’s attacks, and in retaliation for Professor Jackson’s decision to
  organize and publish a symposium that was largely (though not entirely) critical of
  Ewell and his racial grievances.
      64. The court should declare that the university and its officials are violating
  Professor Jackson’s rights under 42 U.S.C. § 1983, and it should enjoin the Board of




  complaint                                                                   Page 14 of 17
Case 4:21-cv-00033-ALM Document 1 Filed 01/14/21 Page 15 of 17 PageID #: 15




  Regents from taking any adverse action against Professor Jackson in response to the
  publication of the symposium or his criticisms of Professor Ewell.

                                   Count 2: Defamation
                                (All Remaining Defendants)
      65. Defendant Rachel Gain defamed Professor Jackson by publishing the grad-
  uate students’ letter on her Twitter feed. See https://bit.ly/3sm3QWx (last visited
  on January 14, 2021). This letter defamed Professor Jackson by accusing him of en-
  gaging in “particularly racist” actions. It further defames Professor Jackson by accus-

  ing him of “platforming . . . racist sentiments” in the Journal of Schenkerian Studies.
      66. Defendants Ellen Bakulina, Andrew Chung, Diego Cubero, Steven
  Friedson, Rebecca Dowd Geoffroy-Schwinden, Benjamin Graf, Frank Heidlberger,
  Bernardo Illari, Justin Lavacek, Peter Mondelli, Margaret Notley, April L. Prince,
  Cathy Ragland, Gillian Robertson, Hendrik Schulze, Vivek Virani, and Brian F.
  Wright defamed Professor Jackson by publishing a statement that “endorses” and
  provides a link to the defamatory statement published by the University of North
  Texas graduate students.
      67. The statement that these defendants signed and published not only “en-
  dorses” the “call to action” in this defamatory student letter, it also announces that
  the signatories “stand in solidarity with our graduate students in their letter of con-
  demnation.”
      68. By endorsing and propagating the contents of this student letter — and by
  providing a link to those contents in the statement that they signed — these defend-
  ants have published the defamatory statements of their students and are legally re-
  sponsible for their slander.
      69. Each of the elements of defamation is satisfied. The defendants published a
  statement calling Professor Jackson a “racist” who engaged in “racist actions,” which
  is false statement of fact.



  complaint                                                                 Page 15 of 17
Case 4:21-cv-00033-ALM Document 1 Filed 01/14/21 Page 16 of 17 PageID #: 16




       70. The defendants also published a statement that Professor Jackson was “plat-
  forming . . . racist sentiments” in the Journal of Schenkerian Studies. This statement
  is also false.
       71. The defendants’ false statements of fact were published on the internet for

  all to see.
       72. The defamatory statements concerned Professor Jackson, who is called out
  by name in the graduate students’ letter.
       73. On information and belief, the defendants knew that their defamatory state-

  ments were false when made. And, at the very least, each defendant acted with negli-
  gence in publishing these false accusations of racism.
       74. Finally, Professor Jackson suffered damages in the form of ostracism, emo-
  tional distress, harm to his professional reputation, and discipline from his university
  on account of the defendants’ false and defamatory accusations of racism.
       75. The Court should award Professor Jackson appropriate relief to remedy the
  damage that the defendants have inflicted on his reputation.

                               DEMAND FOR JUDGMENT
       76. Professor Jackson respectfully requests that the court:

                 i.   declare that the university and its administrators are violat-
                      ing Professor Jackson’s rights under the First and Four-
                      teenth Amendments by retaliating against him for his criti-
                      cism of Philip Ewell;

                ii.   enjoin the members of the Board of Regents, along with
                      their employees and subordinates, from taking any adverse
                      action against Professor Jackson in response to the publica-
                      tion of the symposium or his criticisms of Professor Ewell;

             iii.     award Professor Jackson nominal, compensatory, and puni-
                      tive damages to the full extent authorized by law;

                iv.   award all other relief that the Court deems just, proper, or
                      equitable.




  complaint                                                                       Page 16 of 17
Case 4:21-cv-00033-ALM Document 1 Filed 01/14/21 Page 17 of 17 PageID #: 17



  PLAINTIFF DEMANDS TRIAL BY JURY ON ALL CLAIMS SO TRIABLE

                                        Respectfully submitted.

                                         /s/ Jonathan F. Mitchell
   Michael Thad Allen*                  Jonathan F. Mitchell
   Lead Attorney                        Texas Bar No. 24075463
   Connecticut Bar No. 435762           Mitchell Law PLLC
   Allen Law, LLC                       111 Congress Avenue, Suite 400
   Post Office Box 404                  Austin, Texas 78701
   Quaker Hill, Connecticut 06375       (512) 686-3940 (phone)
   (860) 772-4738 (phone)               (512) 686-3941 (fax)
   (860) 469-2783 (fax)                 jonathan@mitchell.law
   m.allen@allen-lawfirm.com

   * pro hac vice application pending

   Dated: January 14, 2021              Counsel for Plaintiff




  complaint                                                        Page 17 of 17
